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                                       REFERENCE CHART

  Claim                                Citations to Prior Art

  Claim 1: A container comprising:     E.g. Bean col. 2 l. 52
  a container body having and          E.g. Kang ¶¶ 2, 20, 24, 43 2, 20, Fig. 4
  interior surface and exterior        E.g. Affatato col. 1 l. 54
  surface, said container body is      E.g. HK Figs 1-2
  shaped to define an open top and     E.g. Martin col. 1 l. 33, col. 2 ll. 5-6, Fig. 2
  a bottom,                            E.g. Smith `840 col. 1 l. 68
                                       E.g. Whetsel Figs. 1, 8
                                       E.g. Soibel col. 1 ll. 44-47, Fig. 1
                                       E.g. Nagaya abstract, Fig. 1, 4, 8, 10
                                       E.g. Schofield Fig. 1
  wherein said container body is       E.g. Kang ¶ 29, Fig.4, claim 1
  shaped to define a perimetrical      E.g. HK claim 1
  ridge surrounding said open top;     E.g. Martin col. 1 l. 37, col. 2 ll. 19-21, Col. 2 ll. 11-13 Fig. 2
                                       E.g. Smith `840 col. 2 l. 27

  a lid having an interior surface     E.g. Bean col. 3 ll. 4-6, col. 6 l. 65, col. 7 l. 20, Fig. 3
  and exterior surface wherein said    E.g. Kang ¶¶ 30, 83 Fig. 3, claim 1
  lid is shaped to define a            E.g. Affatato col. 2 l. 56, Fig. 3
  perimeter, wherein said lid is       E.g. HK claim 1
  shaped to define a viewing           E.g. Martin col. 1 l. 38, col 3 ll. 10-13, Fig. 1
  opening,                             E.g. Smith `840 col. 2 l. 12
                                       E.g. Soibel col. 3 ll. 6-26, 31-36
  wherein said lid is shaped to        E.g. Bean col. 3 ll. 20-24, col. 6 l. 65, 20, Fig. 3 (112), Fig. 9
  define a plurality of scent          (354)
  openings within said lid;            E.g. Kang ¶¶ 8, 41, claim 2
                                       E.g. Affatato col. 2 l. 2, col. 2 l. 11, Fig. 4
                                       E.g. Martin col. 2 l. 33 & ll. 59-61, Col. 3 ll. 11-13, Fig. 1
                                       E.g. Friars Fig. 2
                                       E.g. Nagaya col. 1 l. 64 - col 2 l. 12, 3 ll. 58-59, col. 5 ll. 9-14,
                                       Fig. 8
                                       E.g. Ushimaru Figs. 3-4
                                       E.g. Schofield Fig. 4
                                       E.g. Dart Figs. 10-11
  a lens affixed to the lid to cover   E.g. Whetsel
  said viewing opening,                E.g. Bug Jar
                                       E.g. Bean col. 3 ll. 6-8, col. 4 l. 5, col. 8 l. 38, Figs. 1, 3
                                       E.g. Kang ¶¶. 14, 40, 43, 83
                                       E.g. Affatato col. 2 l. 56, Fig. 3, col. 6 l. 16
                                       E.g. Martin: col. 3 ll. 10-13, Fig. 1
                                       E.g. Smith `840: col. 1 l. 63-65, col. 2 ll. 17-29


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                                       E.g. Klis Fig. 1
                                       E.g. The Bud Bar Containers, including the 2011 Containers,
                                       the Aroma E-pod, the Aroma Canna Pod, the E-Pod, and the
                                       Canna Pod.
  wherein said lens forms an           E.g. Bean col. 4 ll. 5-6
  airtight seal between said lens      E.g. Kang ¶ 48
  and said lid;                        E.g. HK claim 1
                                       E.g. Martin col. 4 ll. 7-10
                                       E.g. The Bud Bar Containers, including the 2011 Containers,
                                       the Aroma E-pod, the Aroma Canna Pod, the E-Pod, and the
                                       Canna Pod.
  a removable soft plug shaped to      E.g. Bean col. 3 ll. 27-29, col. 4 l. 6, ll. 9-10
  cover the scent opening forming      E.g. Affatato col 2. l. 10, col. 2 l., col. 6 ll. 9-10, col. 8 ll. 34 –
  an airtight seal;                    36, 45, col. 7 l. 20, Fig. 4,
                                       col. 6 ll. 9-10, col. 8 ll. 34 – 36
                                       E.g. Martin col. 2 ll. 46, col. 4 ll. 8-10 ll. 13 – 15
                                       E.g. Burnett col. 3, ll. 1-4 and 55-61
                                       E.g. Dart abstract, Fig. 1
  wherein said lid is fitted on the    E.g. Bean col. 4 ll. 5-10
  perimetrical ridge of said           E.g. Kang ¶ 49
  container body forming a             E.g. Martin col. 2 ll. 13, col. 4 l. 10, col. 3 l. 66, col. 4 l. 2, col.
  chamber, wherein said plug forms     4 l. 10, Fig. 1
  an airtight seal between said plug
  and said lid completely sealing
  said chamber.
  Claim 2:                             E.g. Bush Fig. 5
  The container of claim 1, further    E.g. Bean col. 5 ll. 41-47, Fig 7
  comprising a tether affixed to the   E.g. The Bud Bar Containers, including the 2011 Containers,
  container body.                      the Aroma E-pod, the Aroma Canna Pod, the E-Pod, and the
                                       Canna Pod.

  Claim 3:                             E.g. Smith `840 col 1: ll. 66-67
  The container of claim 1, wherein    E.g. Nagaya col. 3 ll. 11-14
  said lid and said container body     E.g. Yamatomo ¶¶ 3, 28-29, 37
  are comprised of poly(methyl         E.g. The Bud Bar Containers, including the 2011 Containers,
  methacrylate).                       the Aroma E-pod, the Aroma Canna Pod, the E-Pod, and the
                                       Canna Pod.
  Claim 6: The container of claim      E.g. Whetsel
  1, wherein said container body       E.g. Bug Jar
  and lid are round.                   E.g. Soibel col. ll. 6-26
                                       E.g. Nagaya col. 5 ll. 45-47

  Claim 11                             See above as for Claim 1.



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  Claim 12                    See above as for Claim 2.

  Claim 13                    See above as for Claim 3.

  Claim 16                    See above as for Claim 16.




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